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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                        :       Chapter 7
Patrick Lee Olson,                            :
                  Debtor.                     :       Bankruptcy No. 22-11556-MDC
________________________________

Michael Wiley, successor by assignment        :
to McGrath Technical Staffing, Inc dba
McGrath Systems,                              :
                       Plaintiff,             :
                v.                            :       Adversary No. 22-00058-MDC
Patrick Lee Olson,                            :
                  Defendant.                  :
________________________________


                              PRETRIAL SCHEDULING ORDER

         AND NOW, this 10th day of August 2022, the plaintiff having filed an adversary

proceeding and the defendant having filed a responsive pleading, it is hereby ORDERED that:

         1.     On or before August 31, 2022, the parties shall comply with Fed. R. Bankr. P.

7007.1, if the rule is applicable thereto, and the required disclosure statement has not yet been

filed.

         2.     On or before August 31, 2022, the parties shall submit to chambers a joint

statement indicating whether they consent to participate in the court-annexed mediation program.

The joint statement may include up to three suggested mediators from the list of certified

mediators, which list may be obtained from the Clerk. If the joint statement contains no

suggested mediator(s), then the Court will choose one.

         3.     On or before August 31, 2022, counsel shall have held and concluded the

mandatory discovery conference pursuant to Fed. R. Civ. P. 26(f), incorporated into these

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proceedings by Fed. R. Bankr. P. 7026. During said conference, the parties shall consider, as

part of their deliberations on how to proceed with discovery (including electronic discovery), the

discovery and pretrial schedule detailed in paragraph 6 below in this Order.

       4.      Within fourteen days of the conclusion of the parties’ discovery conference,

should the parties propose a discovery or pretrial schedule that differs from the one below, they

shall file with the Bankruptcy Court a report on discovery as mandated by Fed. R. Civ. P. 26(f).

The parties shall detail those differences in their Rule 26(f) report, along with the reasons

therefore. The Court may, when appropriate, order a hearing based upon the information found

in the Rule 26(f) report. If the parties are in agreement with the discovery schedule as outlined

herein, no report need be filed unless there are objections to the initial discovery disclosures.

       5.      Within fourteen days after the conclusion of the Rule 26(f) conference, the

parties shall provide the initial disclosures detailed in Fed. R. Civ. P. 26(a)(1). Any objections to

the initial discovery disclosures required by Fed. R. Civ. P. 26(a)(1) shall be clearly raised in a

Rule 26(f) report.

       6.      The following discovery and pretrial schedule shall be considered by the parties in

their deliberations at their discovery conference:

               A.      All discovery shall be completed on or before November 8, 2022.

               B.      All expert witnesses shall be identified and a copy of each expert’s report
                       shall be provided to every other party, in accordance with Fed. R. Civ. P.
                       26(a)(2) on or before October 9. 2022.

               C.      All motions to amend the pleadings or for summary judgment shall be
                       filed on or before December 8, 2022.

               D.      All discovery disclosures pursuant to Fed. R. Civ. P. 26(a)(3) shall be
                       served on opposing parties and filed with the bankruptcy court on or
                       before December 22, 2022.

               E.      Any objections to the Rule 26(a)(3) disclosures shall be served on
                       opposing parties and filed with the bankruptcy court on or before January

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                  5, 2023.

           F.     On or before February 4, 2023, the parties shall file a joint pretrial
                  statement consistent with the form set forth in paragraph 7 below and file
                  a copy with chambers. The joint pretrial statement shall be signed by all
                  counsel. It is the obligation of the plaintiff’s counsel to initiate, assemble
                  and submit the proposed pretrial statement. Plaintiff’s counsel shall
                  submit a proposed joint pretrial statement to defendant’s counsel not less
                  than 7 days prior to the deadline for its submission.

                  Counsel are expected to make a diligent effort to prepare a proposed
                  pretrial statement in which will be noted all of the issues on which the
                  parties are in agreement and all of those issues on which they disagree.
                  The proposed pretrial statement shall supersede all pleadings in the case.
                  Amendments will be allowed only in exceptional circumstances and to
                  prevent manifest injustice.

           G.     All motions in limine shall be filed on or before February 4, 2023.

     7.    The joint pretrial statement shall be in the following form:

           A.     Basis of jurisdiction. A statement setting forth the basis of jurisdiction
                  and whether the matter is core or noncore. If the matter is noncore, the
                  parties shall state whether they consent to the Court’s entry of a final order
                  pursuant to 28 U.S.C. § 157(c)(2). If the parties disagree, they shall each
                  cite to relevant authority to support their positions.

           B.     Statement of uncontested facts. A statement of the uncontested facts.

           C.     Statement of facts which are in dispute. A statement of the facts in
                  dispute. No facts should be disputed unless opposing counsel expects to
                  present contrary evidence on the point at trial, or genuinely challenges the
                  fact on credibility grounds.

           D.     Damages or other relief. A statement of damages claimed or relief sought.
                  A party seeking damages shall provide, for each cause of action being
                  pursued: (a) a detailed description of each item of damages claimed; (b)
                  the legal authority for such damages and (c) the specific amount of
                  damages claimed. A party seeking relief other than damages shall, for
                  each cause of action being pursued, list the exact form of relief sought
                  with precise designation of persons, parties, placed and things expected to
                  be included in any order for relief and the legal authority for such relief.

           E.     Legal issues. For the causes of action being pursued, identify the
                  following: (i) the constitutional, statutory, regulatory and decisional
                  authorities being relied upon for each cause of action; (ii) the elements
                  which must be satisfied to prevail on each cause of action; and (iii) which
                  party bears the burden of proof on each element. Also list any additional
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                         legal issues (e.g., affirmative defenses) that will be relevant to the court’s
                         disposition of the matter, the authority pertinent to each legal issue, and
                         the party which bears the burden on the issue.

               F.        Witnesses. A list of witnesses in the order in which they will be called,
                         along with a brief statement of the evidence the witness will give.
                         Witnesses shall be classified between those whom any party expected to
                         present and those whom any party may call if the need arises. If not
                         already provided to all parties, the address and telephone number of each
                         witness shall be disclosed.

               G.        A list of all exhibits. A list of all exhibits to be offered into evidence
                         which shall be serially numbered and physically marked before trial in
                         accordance with the schedule. Documents which a party may offer if the
                         need arises shall be separately identified.

               H.        A list of each discovery item and trial deposition. A list of each discovery
                         item and trial deposition to be offered into evidence. Counsel shall
                         designate by page portion of deposition testimony and by number the
                         interrogatories/request for admissions which shall be offered into
                         evidence.

               I.        Estimated trial time and scheduling issues. A statement of: (i) the
                         estimated time which the trial will require; and (2) any issues that should
                         be considered in setting a trial date (e.g. witnesses traveling from out-of-
                         state who will need notice of the trial date to make their travel plans).

               J.        Certification. A certification that the parties have attempted good faith
                         settlement discussions without success.

       8.      A mandatory pretrial/settlement conference shall be held on February 22, 2023,

at 11:00 a.m., in Bankruptcy Courtroom No. 2, Robert N.C. Nix Federal Building &

Courthouse, 900 Market Street, 2nd Floor, Philadelphia, Pennsylvania.

       9.      If the adversary proceeding is not resolved prior to the conclusion of the final

pretrial/settlement conferences, the adversary proceeding shall be set down for trial at the Court’s

first available trial date. The trial may be continued only in exceptional circumstances on motion

to and leave of Court.

       10.     Seven (7) or more days prior to the date of the trial, each party is required to

provide: (i) a copy of exhibits to the opposing parties; and (ii) two copies of exhibits to

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chambers.

       11.     The Court may require each party to file (and, if not directed by the Court, each

party may choose to file), five (5) days prior to the date of the trial, a pretrial memorandum with

service on the opposing party and a courtesy copy delivered to chambers.


                                                      _______________________________
                                                      MAGDELINE D. COLEMAN
                                                      CHIEF U.S. BANKRUPTCY JUDGE

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